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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

 WHAM-O HOLDING, LTD. and
 INTERSPORT CORP. d/b/a WHAM-O,                 Case No. 24-cv-01468

                       Plaintiffs,

       v.                                       Judge Franklin U. Valderrama
                                                Magistrate Judge Maria Valdez
 THE PARTNERSHIPS AND
 UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON
 SCHEDULE “A”,

                       Defendants.


                    FINAL DEFAULT JUDGMENT ORDER

      This action having been commenced by Plaintiff WHAM-O HOLDING, LTD.
and INTERSPORT CORP. d/b/a WHAM-O (“WHAM-O” or “Plaintiffs”) against the
defendants identified on First Amended Schedule A, and using the Online
Marketplace Accounts identified on First Amended Schedule A (collectively, the
“Defendant Internet Stores”), and WHAM-O having moved for entry of Default and
Default Judgment against the defendants identified on First Amended Schedule A
attached hereto which have not yet been dismissed from this case (collectively,
“Defaulting Defendants”);

       This Court having entered a preliminary injunction; WHAM-O having properly
completed service of process on Defaulting Defendants, the combination of providing
notice via electronic publication and e-mail, along with any notice that Defaulting
Defendants received from payment processors, being notice reasonably calculated
under all circumstances to apprise Defaulting Defendants of the pendency of the
action and affording them the opportunity to answer and present their objections;
and

      None of the Defaulting Defendants having answered or appeared in any way,
and the time for answering having expired, so that the allegations of the Complaint
are uncontroverted and are deemed admitted.

      This Court finds that it has personal jurisdiction over Defaulting Defendants
because Defaulting Defendants directly target their business activities toward
consumers in the United States, including Illinois. Specifically, WHAM-O has
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provided a basis to conclude that Defaulting Defendants have targeted sales to
Illinois residents by setting up and operating e-commerce stores that target United
States consumers using one or more seller aliases, offer shipping to the United States,
including Illinois, and have sold products using infringing and counterfeit versions of
WHAM-O’s federally registered trademark which is protected by U.S. Trademark
Registration No. 739,307 (the “HULA-HOOP Trademark”) to residents of Illinois. [In
this case, WHAM-O has presented screenshot evidence that each Defendant e-
commerce store is reaching out to do business with Illinois residents by operating one
or more commercial, interactive internet stores through which Illinois residents can
and do purchase products using counterfeit versions of the HULA-HOOP Trademark.
See Docket No. [15], which includes screenshot evidence confirming that each
Defendant e-commerce store does stand ready, willing and able to ship its counterfeit
goods to customers in Illinois bearing infringing and/or counterfeit versions of the
HULA-HOOP Trademark. This Court further finds that Defaulting Defendants are
liable for willful federal trademark infringement and counterfeiting (15 U.S.C.
§ 1114) and false designation of origin (15 U.S.C. § 1125(a)).

       Accordingly, this Court orders that WHAM-O’s Motion for Entry of Default and
Default Judgment is GRANTED as follows, that Defaulting Defendants are deemed
in default, and that this Default Judgment is entered against Defaulting Defendants.

       This Court further orders that:

1.     Defaulting Defendants, their officers, agents, servants, employees, attorneys,
       and all persons acting for, with, by, through, under, or in active concert with
       them be permanently enjoined and restrained from:

       a. using the HULA-HOOP Trademark or any reproductions, counterfeit
          copies, or colorable imitations in any manner in connection with the
          distribution, marketing, advertising, offering for sale, or sale of any product
          that is not a genuine WHAM-O product or not authorized by WHAM-O to
          be sold in connection with the HULA-HOOP Trademark;

       b. passing off, inducing, or enabling others to sell or pass off any product as a
          genuine WHAM-O product or any other product produced by WHAM-O,
          that is not WHAM-O’s or not produced under the authorization, control, or
          supervision of WHAM-O and approved by WHAM-O for sale under the
          HULA-HOOP Trademark;

       c. committing any acts calculated to cause consumers to believe that
          Defaulting Defendants’ products are those sold under the authorization,
          control, or supervision of WHAM-O, or are sponsored by, approved by, or
          otherwise connected with WHAM-O; and



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       d. manufacturing, shipping, delivering, holding for sale, transferring or
          otherwise moving, storing, distributing, returning, or otherwise disposing
          of, in any manner, products or inventory not manufactured by or for
          WHAM-O, nor authorized by WHAM-O to be sold or offered for sale, and
          which bear any of WHAM-O’s trademarks, including the HULA-HOOP
          Trademark, or any reproductions, counterfeit copies or colorable imitations.

2.     Defaulting Defendants and any third party with actual notice of this Order
       who is providing services for any of the Defaulting Defendants, or in connection
       with any of the Defaulting Defendants’ Defendant Internet Stores, including,
       without limitation, any online marketplace platforms such as Amazon
       Payments, Inc. (“Amazon”), eBay, Inc. (“eBay”), PayPal, Inc. (“PayPal”), and
       Temu, LLC (“Temu”) (collectively, the “Third Party Providers”), shall within
       seven (7) calendar days of receipt of this Order cease:

              a. using, linking to, transferring, selling, exercising control over, or
              otherwise owning the Defendant Internet Stores, or any other online
              marketplace account that is being used to sell or is the means by which
              Defaulting Defendants could continue to sell counterfeit and infringing
              goods using the HULA-HOOP Trademark; and

              b. operating and/or hosting websites that are involved with the
              distribution, marketing, advertising, offering for sale, or sale of any
              product bearing the HULA-HOOP Trademark or any reproductions,
              counterfeit copies or colorable imitations thereof that is not a genuine
              WHAM-O product or not authorized by WHAM-O to be sold in
              connection with the HULA-HOOP Trademark.

3.     Upon WHAM-O’s request, those with notice of this Order, including the Third-
       Party Providers as defined in Paragraph 2, shall within seven (7) calendar days
       after receipt of such notice, disable and cease displaying any advertisements
       used by or associated with Defaulting Defendants in connection with the sale
       of counterfeit and infringing goods using the HULA-HOOP Trademark.

4.     Pursuant to 15 U.S.C. § 1117(c)(2), WHAM-O is awarded statutory damages
       from each of the Defaulting Defendants in the amount of two hundred
       thousand dollars ($200,000) for willful use of counterfeit HULA-HOOP
       Trademark on products sold through at least the Defendant Internet Stores.
       This award shall apply to each distinct Defaulting Defendant only once, even
       if they are listed under multiple different aliases in the Complaint and First
       Amended Schedule A.

5.     Any Third-Party Providers holding funds for Defaulting Defendants, including
       Amazon eBay, PayPal, and Temu, shall, within seven (7) calendar days of
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       receipt of this Order, permanently restrain and enjoin any accounts connected
       to Defaulting Defendants or the Defendant Internet Stores from transferring
       or disposing of any funds (up to the statutory damages awarded in Paragraph
       4 above) or other of Defaulting Defendants’ assets.

6.     All monies (up to the amount of the statutory damages awarded in Paragraph
       4 above) currently restrained in Defaulting Defendants’ financial accounts,
       including monies held by Third Party Providers such as Amazon, eBay, PayPal,
       and Temu are hereby released to WHAM-O as partial payment of the above-
       identified damages, and Third Party Providers, including Amazon, eBay,
       PayPal, and Temu are ordered to release to WHAM-O the amounts from
       Defaulting Defendants’ financial accounts within fourteen (14) calendar days
       of receipt of this Order.

7.     Until WHAM-O has recovered full payment of monies owed to it by any
       Defaulting Defendant, WHAM-O shall have the ongoing authority to
       commence supplemental proceedings under Federal Rule of Civil Procedure 69.

8.     If WHAM-O identifies any additional online marketplace accounts or financial
       accounts owned by Defaulting Defendants, WHAM-O may send notice of any
       supplemental proceeding, including a citation to discover assets, to Defaulting
       Defendants by e-mail at the e-mail addresses identified in Exhibit 2 to the
       Declaration of Kurt Rios and any e-mail addresses provided for Defaulting
       Defendants by third parties.

9.     The ten-thousand-dollar ($10,000.00) surety bond posted by WHAM-O,
       including any interest minus the registry fee, is hereby released to WHAM-O
       or their counsel, Keith Vogt, Ltd., 33 West Jackson Boulevard, #2W, Chicago,
       Illinois, 60604. The Clerk of the Court is directed to return the surety bond
       previously deposited with the Clerk of the Court to Keith Vogt, Ltd., 33 West
       Jackson Boulevard, #2W, Chicago, Illinois, 60604 via certified mail. This is a
       Default Judgment.




DATED: May 14, 2024



                                       ______________________________________
                                       Franklin U. Valderrama
                                       United States District Judge
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